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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                    (Kansas City Docket)


 UNITED STATES OF AMERICA

         Plaintiff,

                 v.
                                                                 Case No. 19-20052-JAR/JPO
 FENG TAO,
 a/k/a “Franklin Tao,”

         Defendant.

                            SECOND SUPERSEDING INDICTMENT

       The Grand Jury charges:

At all times relevant to this indictment:

                                     Introductory Allegations

                      The Defendant’s Employment at the University of Kansas

       1.       The University of Kansas (KU) was a public research university governed by the

Kansas Board of Regents (KBOR) with a campus in Lawrence, Kansas.

       2.       The Center for Environmentally Beneficial Catalysis (CEBC) was a component of

KU, located at the Life Science Research Lab in Lawrence, Kansas. CEBC’s research focused

on sustainable technology to conserve natural resources and energy. Among other things, the

CEBC performed research funded by grants from the United States Government (USG).

       3.       Since in or about August 2014, the defendant, FENG TAO (a/k/a FRANKLIN

TAO), a citizen of the People’s Republic of China (PRC), was a full-time professor and

researcher at KU who worked in the CEBC on projects involving renewable energy, including

shale gas.

       4.       In his capacity as a researcher at KU, TAO was responsible for submitting USG
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grant proposals through KU and for managing USG-funded research projects at KU. As

described below, between at least in or about December 2017 and August 2019, TAO obtained

funds from the U.S. Department of Energy (DOE) and the National Science Foundation (NSF) to

support his research at KU, while concealing his participation in a PRC “talent plan,” his

employment at a PRC research university, and his PRC-funded research.

                              University Of Kansas Conflict Policies

       5.       As a KU employee, TAO owed a fiduciary duty and a duty of truthfulness to KU.

KBOR and KU policies required TAO to disclose any current or prospective situations that

involved potential conflicts of interest or time as soon as they became known.

       6.       The policies further required TAO to disclose conflicts of interest or time on an

annual basis using KU’s “Institutional Responsibilities” form. Among other things, the form

required TAO to certify that (1) his statements were true, correct, and complete to the best of his

knowledge and belief; (2) he had read and complied with KBOR and KU policies; (3) he agreed

to secure approval prior to engaging in any external personal, professional activities; and (4) he

agreed to report any changes as soon as they become known to him and no later than 30 days

after acquiring a new significant financial interest.

       7.       KU used the information, in part, to determine whether TAO had any financial

interests or commitments of time that conflicted with his responsibilities to manage USG-funded

research projects.

       8.       At various times between in or about August 2014 and August 2019, TAO

certified that he read and understood KBOR and KU’s conflict policies and that he had made all

necessary disclosures. Further, in connection with his USG grant proposals, TAO assured KU

that he would take the steps necessary to ensure that others involved with the proposed research



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read and understood and complied with all relevant conflict policies.

                                U.S. Department of Energy Grant

       9.       DOE was a federal agency whose mission was to ensure America’s security and

prosperity by addressing its energy, environmental, and nuclear challenges through

transformative science and technology solutions. Within DOE, the Office of Science supported

research in the physical sciences and fundamental scientific research for America’s energy future

by funding such research through grants. DOE programs were a crucial part of America’s

national security apparatus.

       10.      On or about December 11, 2017, TAO caused KU to submit an application to

DOE’s Office of Science for renewed funding to support his ongoing research at KU. As part of

the application, DOE required TAO to identify his institutional affiliations and his current and

pending support, to include funding from foreign governments and institutions. TAO identified

his affiliation with KU and only his USG funding sources. Relying on TAO’s representations,

KU certified, under penalty of law, that the statements contained in the application were true and

accurate. On or about July 10, 2018, while TAO’s grant application was under review, DOE

asked TAO to update his current and pending support, to include any submissions planned in the

future. Thereafter, on or about July 16, 2018, in response to DOE’s request, TAO provided

DOE with a document identifying only his USG funding sources.

       11.      On or about September 18, 2018, relying on TAO’s representations, DOE’s

Office of Science awarded the grant to KU and agreed to continue funding TAO’s research at

KU through at least September 2019.

                               National Science Foundation Grants

       12.      NSF was a federal agency that was created by Congress to promote the progress



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of science; to advance the national health, prosperity, and welfare; and to secure the national

defense of the United States. NSF’s mission was to support all fields of fundamental science and

engineering (except for medical sciences) and to keep the United States at the leading edge of

discovery. NSF fulfilled its mission by funding research and education through grants and

cooperative agreements.

       13.     In order to receive its funds, NSF required KU to maintain a written, enforceable

conflict of interest policy. Among other things, KU’s policy had to ensure that researchers like

TAO made all necessary disclosures at the time they submitted their proposals and that they

updated their disclosures during the period of the award, either on an annual basis or as new

reportable conflicts became known. NSF further required KU to manage, reduce, or eliminate all

conflicts of interest for each grant before the expenditure of the grant funds. KBOR and KU’s

policies, as described above, complied with NSF’s requirements.

       14.     Between in or about July 2013 and August 2014, while employed by the

University of Notre Dame, TAO applied for an NSF grant and obtained NSF funding. In or

about September 2014, after being hired by KU, TAO caused KU to submit a request to NSF to

transfer the grant from Notre Dame to KU. On or about December 1, 2014, NSF approved the

grant transfer and agreed to fund TAO’s research at KU through June 2019.

       15.     On or about October 2, 2017, TAO caused KU to submit a separate grant

application to NSF to fund his research at KU. As part of the application, TAO identified his

affiliation with KU and his current and pending USG funding sources. Relying on TAO’s

representations, KU certified, under penalty of law, that the statements contained in the

application were true and accurate. On or about June 28, 2018, relying on TAO’s

representations, NSF awarded the grant to KU and agreed to fund TAO’s research at KU from in



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or about September 2018 through August 2021.

                         The People’s Republic of China’s Talent Plans

       16.     The People’s Republic of China (PRC) was the most populous country in the

world. In recent years, the PRC Government invested heavily in growing its economy,

especially industrial sectors it considered important to its autonomy and national security.

       17.     The PRC achieved rapid economic growth, in part, through “talent plans,” which

were designed to encourage the transfer of original ideas and intellectual property from U.S.

universities to PRC Government institutions. Talent plans offered competitive salaries, state-of-

the-art research facilities, and honorific titles to entice experts to bring their knowledge and

experience to the PRC to enhance the PRC’s economic prosperity and national security.

       18.     The PRC’s talent plans typically required applicants to have experience in

cutting-edge science or engineering research; a degree from a prestigious university; and several

years of overseas work or research experience at prestigious universities, research institutes,

corporations, or well-known enterprises.

       19.     To entice high-caliber applicants, the PRC Government generally provided talent

plan participants with significant financial and social incentives. For example, participants

typically drew a salary from a PRC employing entity, such as a university, laboratory, or

research organization, which sponsored or facilitated the participants’ applications. Because of

the nature of the PRC political system, these employing entities were, functionally, extensions of

the PRC Government and the Chinese Communist Party.

       20.     Participants typically entered into contracts covering their involvement in the

talent plans. These contracts obligated the participants to work for a specified time in the PRC

and often detailed the specific research the participants would perform or the businesses the



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participants would develop. The contractual obligation closely resembled or replicated the work

the participants performed or continued to perform for their U.S. or non-PRC employers. In

many cases, talent plan contracts required participants to identify additional overseas talent to

join their research teams in the PRC. Further, rather than merely conducting scientific research,

participants were frequently obligated contractually to perform services for the PRC in support

of its strategic national development goals and economic revitalization.

       21.     The Chang Jiang Scholar Program, also known as the Yangtze River Scholar

Program, was one such talent plan sponsored by the PRC Government. The PRC Government

used the Chang Jiang Scholar Program to attract talented academics to bolster the PRC’s

scientific and technical knowledge and for the benefit of the PRC. Individuals accepted into the

Chang Jiang Scholar Program received the title of Chang Jiang Distinguished Professor at their

universities in the PRC, as well as other benefits.

                           Defendant’s PRC Talent Plan Applications

       22.     In 2016, TAO applied to the Chang Jiang Scholar Program through Xiamen

University in the PRC. He was not selected at that time. Between on or about May 23, 2017,

and July 2, 2017, TAO communicated with individuals affiliated with Xiamen University about

a different PRC talent plan known as the Thousand Talents Program. In those communications,

TAO expressed his intention to apply to the Thousand Talents Program through Xiamen

University and asked that the individuals keep his intention confidential due to his full-time

employment at KU.

       23.     Around the same time, between on or about June 9 and July 1, 2017, TAO

traveled from the United States to the PRC, where he met with the head of Fuzhou University’s

(FZU) Chemistry Department who encouraged TAO to apply to the Chang Jiang Scholar



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Program through FZU.

       24.     In or about July 2017, TAO applied to the Chang Jiang Scholar Program with the

expectation that he would join the faculty and staff at FZU, in the PRC, while maintaining his

employment at KU, obtaining USG grant funds, and concealing his FZU and PRC affiliations

from KU and the USG.

       25.     Between on or about November 18 and November 24, 2017, TAO traveled to

FZU in the PRC to prepare the materials necessary to defend his Chang Jiang Scholar Program

application before the PRC’s Ministry of Education. He then returned to the PRC to defend his

application between on or about December 6 and 13, 2017.

       26.     In or about the end of December 2017, TAO was accepted into the Chang Jiang

Scholar Program with the understanding that he would be employed full time at FZU, where he

would conduct research involving renewable energy for the benefit of the PRC. At no time did

TAO disclose this information to KU or any USG agency.

                        Defendant’s Employment at Fuzhou University

       27.     FZU was a university located in Fuzhou, in the PRC, that was established by the

PRC’s Ministry of Education to research science and technology. The State Key Laboratory of

Photocatalysis on Energy and Environment was a component of FZU. The PRC’s Ministry of

Education continued to manage FZU jointly with the Fuzhou Provincial Government through at

least in or about August 2019.

       28.     Between in or about January and February 2018, TAO negotiated an employment

contract with FZU. On or about January 23, 2018, an FZU representative invited TAO to the

PRC to discuss the terms of his contract, including his salary and benefits. Between on or about

February 1 and February 20, 2018, TAO traveled to the PRC to meet with FZU representatives,



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including the head of FZU’s Chemistry Department.

       29.    In or around March 2018, TAO entered into a contract with FZU to serve as a

Chang Jiang Distinguished Professor for a period of five years from May 1, 2018, to April 30,

2023. The contract included the following terms:

              (A)     TAO agreed to perform the following duties, among other things: 1) teach

       chemistry at FZU; 2) support the PRC’s strategic needs by, for example, conducting

       major scientific research projects for the PRC; 3) recruit post-doctoral researchers to

       FZU; 4) actively apply for the PRC’s major scientific research projects and host three

       such projects; and 5) publish at least 60 research articles identifying FZU as his primary

       employer.

              (B)     FZU agreed to provide TAO with the following, among other things: 1) a

       salary every year, some of which would come from the PRC’s Ministry of Education; 2)

       research funds; 3) post-doctoral researchers and a secretary to facilitate research; 4) lab

       space and equipment, a residence, and relocation expenses; and 5) to strengthen TAO’s

       ideological and emotional identity, patriotism, ambition for a strong PRC and his

       dedication to the service of the PRC.

       30.    Between on or about May 5 and May 8, 2018, TAO traveled to the PRC. At or

around that time, TAO formally started his employment at FZU as a Chang Jiang Distinguished

Professor, without disclosing to KU or the USG that he was engaged in such employment.

       31.    At various times between in or about May 2018 and December 2018, and for the

majority of time between on or about December 11, 2018, and August 20, 2019, TAO traveled to

the PRC. During that period, TAO fulfilled his contractual obligations to FZU, while remaining

employed by KU and obtaining USG grant funds. For example, TAO attempted to recruit and



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did recruit post-doctoral researchers to work for him at FZU. As another example, TAO applied

for grants from the National Natural Science Foundation of China to fund his research at FZU,

including an application submitted on or about March 17, 2019. At no time did TAO disclose

his affiliation with FZU to KU or any USG agency.

                              The Defendant’s Scheme to Defraud

       32.      From in or about May 2017 through on or about August 21, 2019, TAO engaged

in a scheme to defraud KU and the USG to obtain money and property from KU, DOE, and NSF,

to include USG grant funds and his KU salary.

                                     Purpose of the Scheme

       33.      The purposes of the scheme were for TAO to benefit the PRC by participating in

a “talent plan,” to obtain USG grant funds and his KU salary under false pretenses, and to

conceal the scheme.

                              Manners and Means of the Scheme

       34.      As part of the scheme to defraud KU and the USG, TAO provided FZU and the

PRC with technical training, scientific expertise, and research as a Chang Jiang Distinguished

Professor at FZU, while purporting to remain loyal to KU, his employer.

       35.      It was a further part of the scheme to defraud KU and the USG that TAO traveled

to the PRC for a significant period of time between May 2018 and August 2019 to fulfill his

contractual obligations to FZU, while remaining employed by KU and obtaining USG grant

funds through that employment.

       36.      It was a further part of the scheme to defraud KU and the USG that TAO, having

a duty to disclose, concealed from KU and USG agencies his affiliation with FZU, his

participation in the PRC’s Chang Jiang Scholar Program, and the associated financial and other

benefits.
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       37.     It was a further part of the scheme to defraud KU and the USG that TAO

fraudulently maintained his employment with KU to obtain access to KU’s research facilities and

equipment and USG grant funds.

       38.    It was a further part of the scheme to defraud KU and the USG that TAO caused

KU to rely on his material misrepresentations and omissions to request funds from DOE and

NSF for expenditures associated with his USG-funded research at KU.

       39.    It was a further part of the scheme to defraud KU and the USG that TAO made

the following material misrepresentations and omissions, among others:

              (A)     On or about January 9, 2018, TAO falsely stated on his 2018 Institutional

       Responsibilities form that he did not have any conflicts of interest or time; when in truth,

       as TAO then knew, he had been selected for the Chang Jiang Scholar Program at FZU,

       and he intended to work at FZU and receive funding from FZU and the PRC, in addition

       to other financial benefits.

              (B)     On or about January 29, 2018, in connection with a proposal for funds to

       perform work at the National Renewal Energy Laboratory (a USG-owned, contractor-

       operated facility funded through DOE) TAO falsely certified to KU that he had made all

       relevant financial and other disclosures as required by KBOR, KU, and DOE policies;

       when in truth, as TAO then knew, he had been selected for the Chang Jiang Scholar

       Program at FZU, and he intended to work at FZU and receive funding from FZU and the

       PRC, in addition to other financial benefits.

              (C)     On or about May 17, 2018, TAO submitted a proposal to KU for a

       collaborative research project with FZU, to be funded by FZU, and thereafter requested

       to use part of the project’s budget to absolve him from his KU teaching responsibilities



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       for the Spring 2019 semester. In doing so, TAO concealed his employment by FZU and

       his plan to travel to the PRC to fulfill his contractual obligations to FZU between in or

       about December 2018 and August 2019.

              (D)     On or about July 16, 2018, in connection with the above-described DOE

       grant, TAO falsely represented to DOE that he was only receiving, and only expected to

       receive, USG funding; when in truth, as TAO then knew, he was working for FZU as a

       Chang Jiang Distinguished Professor and was receiving, and expected to receive, funding

       from FZU and the PRC.

              (E)     On or about September 25, 2018, TAO falsely stated on his 2019

       Institutional Responsibilities form that he did not have any conflicts of time or interest;

       when in truth, as TAO then knew, he was working for FZU as a Chang Jiang

       Distinguished Professor and was receiving, and expecting to receive, funding from FZU

       and the PRC, in addition to other financial benefits.

              (F)     On or about June 15, 2019, in connection with the above-described DOE

       grant, TAO submitted a Progress Report to DOE’s Office of Science, in which he falsely

       represented that he had no changes to his current support; when in truth, as TAO then

       knew, he was working for FZU as a Chang Jiang Distinguished Professor and was

       receiving, and expected to receive, funding from FZU and the PRC.

                             COUNTS ONE THROUGH SEVEN
                                     (Wire Fraud)

       40.    Paragraphs 1 to 39 are incorporated herein by reference.

       41.    From in or about May 2017 through on or about August 21, 2019, in the District

of Kansas and elsewhere, the defendant, FENG TAO, did knowingly, and with intent to defraud,

devise and intend to devise a scheme and artifice to defraud, and to obtain money and property


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by means of materially false and fraudulent pretenses, representations, promises, and half-truths,

and by omissions and concealment of material facts with a duty to disclose.

         42.   On or about the dates set forth below, in the District of Kansas and elsewhere, the

defendant, for the purpose of executing such scheme and artifice and attempting to do so,

transmitted, and caused to be transmitted, by means of wire communication in interstate and

foreign commerce, writings, signs, and signals, to wit, the wire communications described

below:

 COUNT         DATE                  DESCRIPTION OF WIRE
 ONE           November 11, 2017     Email from Kansas to the Consulate General of the
                                     People’s Republic of China in Illinois regarding TAO’s
                                     travel to Fuzhou University

 TWO           December 11, 2017     Electronic submission of TAO’s U.S. Department of
                                     Energy grant application from Kansas to a location outside
                                     Kansas

 THREE         January 9, 2018       Electronic submission of TAO’s 2018 Institutional
                                     Responsibilities form from Kansas to a location outside
                                     Kansas

 FOUR          June 26, 2018         Email from outside the United States to the University of
                                     Kansas regarding TAO’s proposal for a collaborative
                                     research project with Fuzhou University

 FIVE          July 16, 2018         Email from outside the United States, through Kansas, to
                                     the U.S. Department of Energy regarding TAO’s updated
                                     current and pending support

 SIX           September 25, 2018 Electronic submission of TAO’s 2019 Institutional
                                  Responsibilities form from Kansas to a location outside
                                  Kansas

 SEVEN         March 17, 2019        Email from outside the United States, through Kansas, to a
                                     location outside Kansas regarding TAO’s application for
                                     National Natural Science Foundation of China funding


Each count a separate offense, in violation of Title 18, United States Code, Sections 1343 and 2.


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                                 COUNTS EIGHT AND NINE
                                    (False Statements)

        43.    Paragraphs 1 to 39 are incorporated herein by reference.

        44.    On or about the dates set forth below, in the District of Kansas and elsewhere, the

defendant, FENG TAO, willfully and knowingly made materially false, fictitious, and

fraudulent statements, representations, and omissions in a matter within the jurisdiction of the

executive branch of the United States Government, to wit: through his submission of an

Institutional Responsibilities form, TAO falsely represented to the University of Kansas, an

institution that requested and received funds from the U.S. Department of Energy and the

National Science Foundation, that he had no conflicts of time or interest; when in truth, as TAO

then knew, he was affiliated with FZU as a Chang Jiang Distinguished Professor and was

receiving financial and other benefits, which he had a duty to disclose.

 COUNT             DATE                      DESCRIPTION OF FALSE STATEMENT
 EIGHT             January 9, 2018           TAO’s 2018 Institutional Responsibilities form

 NINE              September 25, 2018        TAO’s 2019 Institutional Responsibilities form


Each count a separate offense, in violation of Title 18, United States Code, Sections 1001 and 2.

                                         COUNT TEN
                                       (False Statements)

        45.    Paragraphs 1 to 39 are incorporated herein by reference.

        46.    On or about July 16, 2018, in the District of Kansas and elsewhere, the defendant,

FENG TAO, willfully and knowingly made materially false, fictitious, and fraudulent

statements, representations, and omissions in a matter within the jurisdiction of the executive

branch of the United States Government, to wit: in connection with a University of Kansas grant

application, TAO falsely represented to the U.S. Department of Energy that he was receiving,

and expected to receive, funding from U.S. Government agencies only; when in truth, as TAO
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then knew, he was receiving, and expected to receive, funding from the People’s Republic of

China and Fuzhou University.

       In violation of Title 18, United States Code, Sections 1001 and 2.

                                    FORFEITURE NOTICE

       47.     The allegations contained in paragraphs 1 to 46 of this Superseding Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures pursuant

to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2461(c).

       48.     Upon conviction of the offenses identified in Counts 1 through 7, the defendant,

                                            FENG TAO,
                                       A/K/A FRANKLIN TAO,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c), any property, real or personal, which constitutes

or is derived from proceeds traceable to the offenses, including, but not limited to, the following:

       A forfeiture money judgment for each Count in amounts equal to the amount of
       proceeds that the defendant obtained from Counts 1 through 7 in the Second
       Superseding Indictment.

       49.     If any of the property described above, as a result of any act or omission of the

defendant:

       A.      cannot be located upon the exercise of due diligence;

       B.      has been transferred or sold to, or deposited with, a third party;

       C.      has been placed beyond the jurisdiction of the court;

       D.      has been substantially diminished in value; or

       E.      has been commingled with other property which cannot be divided
               without difficulty,



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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p) and Title 28, United States Code, Section 2461(c).

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).

                                                      A TRUE BILL.


Dated: June 24, 2020                                  s/Foreperson
                                                      FOREPERSON


s/ Anthony W. Mattivi, #17082 for
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Ks. S. Ct. No. 15845

(It is requested that trial of the above captioned case be held in Kansas City, Kansas.)




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PENALTIES:

Cts. 1 - 7:   18 U.S.C. § 1343

        #     NMT 20 Years Imprisonment,
        #     NMT $250,000 Fine,
        #     NMT 3 Years Supervised Release
        #     $100 Special Assessment, and
        #     Forfeiture

Ct. 8 - 10:   18 U.S.C. § 1001

        #     NMT 5 Years Imprisonment,
        #     NMT $250,000 Fine,
        #     NMT 3 Years Supervised Release, and
        #     $100 Special Assessment




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